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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Civil/Criminal No.: _ 24-cr-94 (APM)

vs.

THOMAS OSBORNE

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